     Case: 1:22-cv-01688 Document #: 27 Filed: 08/29/22 Page 1 of 1 PageID #:490

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Ken McDowell, et al.
                                Plaintiff,
v.                                                Case No.: 1:22−cv−01688
                                                  Honorable Franklin U. Valderrama
McDonald's Corporation
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 29, 2022:


        MINUTE entry before the Honorable Franklin U. Valderrama: The Court refers
discovery supervision, including setting all deadlines, and settlement matters to Magistrate
Judge Kim. The Court anticipates discovery will continue while the motion to dismiss
[22] is pending. If the parties request a stay of discovery, they are to bring that motion
before the District Court Judge. Without a stay, it is expected that discovery work will
continue. Mailed notice (axc)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
